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          In the United States Court of Federal Claims
                                     No. 99-550 L
                    (into which has been consolidated No. 00-169 L)
                             (E-Filed: December 19, 2008)

_________________________________________
                                                     )
                                                     )   RCFC 24(a); RCFC 24(b);
THE OSAGE TRIBE OF INDIANS                           )   Intervention of Right;
OF OKLAHOMA,                                         )   Permissive Intervention; 28
                                          )              U.S.C. § 1505
                      Plaintiff,          )
           v.                             )
                                          )
THE UNITED STATES OF AMERICA,             )
                                          )
                  Defendant.              )
                                          )
_________________________________________ )


Kenneth E. Crump, Jr., Tulsa, OK, for proposed intervenor.

Wilson K. Pipestem, Washington, DC, for plaintiff.

Maureen E. Rudolph, with whom were Ronald J. Tenpas, Assistant Attorney General,
Brian M. Collins, and Romney S. Philpott, Environment & Natural Resources Division,
United States Department of Justice, Washington, DC, for defendant. Elisabeth Brandon,
Ericka Thompson, and Holly Clement, Office of the Solicitor, United States Department
of the Interior, Washington, DC, of counsel. Teresa E. Dawson, and Thomas Kearns,
Office of the Chief Counsel, Financial Management Service, United States Department of
the Treasury, Washington, DC, of counsel.

                                   OPINION AND ORDER

HEWITT, Judge

       Before the court is an Amended Motion for Leave to Intervene and Brief in
Support (Motion or Mot.), filed by seven members of plaintiff Osage Tribe (Proposed
Intervenors). The responsive briefing consists of Plaintiff Osage Nation’s Opposition to
Amended Motion to Intervene (plaintiff’s Response or Pl.’s Resp.), Defendant’s Brief in
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Response to Proposed Intervenors’ Amended Motion to Intervene (defendant’s Response
or Def.’s Resp.), and Proposed Intervenors’ Reply to Responses of the Osage Tribe of
Indians of Oklahoma and the United States of America to Amended Motion to Intervene
and Brief in Support (Reply).

I.     Background 1

       A.      Procedural Setting

        Plaintiff Osage Tribe of Indians of Oklahoma (Osage Nation or Osage Tribe) filed
suit in this court alleging that the United States violated its duty as trustee of the Osage
mineral estate by failing to collect all moneys due from Osage oil leases and to deposit
and invest those moneys as required by statute and according to the fiduciary duty owed
to the Osage Tribe. See Complaint, dkt. no. 1, filed Aug. 2, 1999. Plaintiff’s action
survived defendant’s motion to dismiss, and plaintiff was found to have standing to bring
suit against defendant. Osage Tribe of Indians of Okla. v. United States (Osage I), 57
Fed. Cl. 392, 395, 398 (2003).2 Defendant was subsequently found to owe fiduciary
duties as trustee to plaintiff as trust beneficiary. Osage Tribe of Indians of Okla. v.
United States (Osage II), 68 Fed. Cl. 322, 330-31 (2005). Plaintiff's claims were divided
into two tranches with the first tranche (Tranche One) encompassing certain trust fund
mismanagement claims within the parameters described by the United States Court of
Appeals for the Federal Circuit (Federal Circuit) in Shoshone Indian Tribe of the Wind
River Reservation v. United States, 364 F.3d 1339, 1350-51 (Fed. Cir. 2004). Id. at 323.
The second tranche (Tranche Two) encompasses all other claims. Id. at n.1.

        On September 21, 2006, this court issued an opinion finding liability in some of
plaintiff’s Tranche One claims. Osage Tribe of Indians of Okla. v. United States (Osage
III), 72 Fed. Cl. 629, 671 (2006). On February 15, 2007 this court issued an opinion


       1
          The facts presented are only those relevant to the court’s decision on the motion to
intervene brought by the seven individuals presently before the court (Proposed Intervenors) in
their Amended Motion for Leave to Intervene and Brief in Support (Motion or Mot.). For
additional background information, see Osage Tribe of Indians of Okla. v. United States (Osage
II), 68 Fed. Cl. 322, 323-24 (2005).
       2
         The numbering used in this opinion to refer to prior decisions issued in this case departs
from the conventions used in those decisions. See, e.g., Osage Tribe of Indians of Okla. v.
United States (Osage III), 72 Fed. Cl. 629, 632 (2006). This opinion refers to the earliest-filed
opinion in this case as “Osage I,” and short titles for subsequent decisions are adjusted
accordingly.

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regarding the calculation of damages for the government’s liability regarding plaintiff’s
Tranche One claims discussed in Osage III. Osage Tribe of Indians of Okla. v. United
States (Osage IV), 75 Fed. Cl. 462 (2007). Plaintiff filed a motion for partial summary
judgment on December 2, 2008, dkt. no. 338, and defendant is currently briefing its
response.

       B.     Identity of the Movants

       On October 15, 2007, eight individuals who identified themselves as “personal
owners of allotted shares or ‘headrights’ of the Osage Tribe of Indians of Oklahoma”
(Original Intervenors) filed a motion to intervene in this action. Osage Tribe of Indians
of Okla. v. United States (Osage V), 81 Fed. Cl. 340, 340 (2008). Plaintiff responded to
the motion to intervene by filing a motion to disqualify counsel for the Original
Intervenors. Id. On March 31, 2008, this court issued an opinion disqualifying Original
Intervenors’ original counsel. Id. On August 11, 2008, Proposed Intervenors 3 filed the
Motion now before the court. Proposed Intervenors’ Motion is now decided on the merits
pursuant to the requirements of Rule 24 of the Rules of the United States Court of Federal
Claims (RCFC).4

II.    Legal Standards

       Intervention is governed by RCFC 24. Intervention may be allowed either as a
matter of right under Rule 24(a) or permissively under Rule 24(b). RCFC 24(a),(b).
Although “the requirements for intervention are to be construed in favor of intervention,”


       3
         Proposed Intervenors are seven of the eight individuals who brought a motion to
intervene in this action on October 15, 2007 (Original Intervenors).
       4
          Proposed Intervenors use the term “joinder” synonymously with “intervention” for the
first time in their Reply to Responses of the Osage Tribe of Indians of Oklahoma and the United
States of America to Amended Motion to Intervene and Brief in Support (Reply). Reply 3, 8.
However, Proposed Intervenors do not base their arguments in either Rule 19 or Rule 20 of the
Rules of the Court of Federal Claims (RCFC) which govern joinder. See Mot. passim; Reply
passim. In fact, Proposed Intervenors make no reference to either RCFC 19 or RCFC 20 in their
briefing. Id. Because Proposed Intervenors’ Motion was brought as a motion to intervene under
RCFC 24, defendant’s and plaintiff’s responsive briefing were accordingly argued as oppositions
to Proposed Intervenors’ Motion under RCFC 24. See Plaintiff Osage Nation's Opposition to
Amended Motion to Intervene (plaintiff's Response or Pl.'s Resp.) passim; Defendant's Brief in
Response to Proposed Intervenors' Amended Motion to Intervene (defendant's Response or Def.'s
Resp.) passim. For the foregoing reasons, the court treats Proposed Intervenors’ Motion as a
motion for intervention under RCFC 24.

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Am. Mar. Transp., Inc. v. United States (American Maritime), 870 F.2d 1559, 1561 (Fed.
Cir. 1989), courts routinely deny motions to intervene, see, e.g., id. at 1563 (affirming
denial of motion to intervene because applicant “had not claimed an interest recognized
under Rule 24(a)”).

       The rule governing intervention of right states:

       On timely motion, the court must permit anyone to intervene who . . .
       claims an interest relating to the property or transaction that is the subject of
       the action, and is so situated that disposing of the action may as a practical
       matter impair or impede the movant’s ability to protect its interest, unless
       existing parties adequately represent that interest.

RCFC 24(a)(2). While it is true that “[i]f the movant satisfies the elements of RCFC
24(a), the court is without discretion, and the movant ‘shall be permitted to intervene,’”
Fifth Third Bank v. United States, 52 Fed. Cl. 202, 203 (2002) (quoting RCFC 24(a)),
courts are nevertheless “entitled to the full range of reasonable discretion in determining
whether the[] requirements [for intervention of right] have been met,” Rios v. Enter.
Ass’n Steamfitters Local Union No. 638, 520 F.2d 352, 355 (2d Cir. 1975); see also 6
James Wm. Moore, Moore’s Federal Practice § 24.03[5][a], at 24-53 (3d ed. 2004)
(“Despite the label ‘intervention of right,’ courts exercise some discretion in weighing a
motion to intervene under Rule 24(a)(2).”).

       The rule governing permissive intervention states:

       On timely motion, the court may permit anyone to intervene who . . . has a
       claim or defense that shares with the main action a common question of law
       or fact. . . . In exercising its discretion, the court must consider whether the
       intervention will unduly delay or prejudice the adjudication of the original
       parties’ rights.

RCFC 24(b). The rule specifically vests the court with discretion in deciding whether to
allow permissive intervention. See RCFC 24(b). Trial courts possess “broad discretion
in determining whether to grant permissive intervention.” 6 James Wm. Moore, Moore’s
Federal Practice § 24.10[1], at 24-57 (3d ed. 2004) (citing, inter alia, Rosenshein v.
Kleban, 918 F. Supp. 98, 106 (S.D.N.Y. 1996)).

III.   Discussion




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       For the reasons discussed below, Proposed Intervenors do not qualify as an
“identifiable group” pursuant to 28 U.S.C. § 1505. Accordingly, the court considers
Proposed Intervenors’ Motion as a motion to intervene on behalf of themselves as
individual headright owners. In addition, Proposed Intervenors do not meet the
requirements either for intervention of right pursuant to RCFC 24(a), or for permissive
intervention pursuant to RCFC 24(b).

       A.      Whether Proposed Intervenors Are An “Identifiable Group” Pursuant to 28
               U.S.C. § 1505

        Proposed Intervenors seek to intervene in this case “not only on their own behalf,
but on behalf of all other Indian headright owners who are original allottees or
descendants of original allottees.” Mot. 11. Proposed Intervenors argue that they are
entitled to intervene in a representative capacity, contending that Indian original allottees
and their descendants qualify as an “identifiable group” pursuant to 28 U.S.C. § 1505. Id.
Plaintiff argues that the group that Proposed Intervenors seek to represent does not
constitute an "identifiable group" of American Indians under the statute because the
individuals within that group are members of the Osage Nation, and are therefore already
represented by plaintiff.5 Pl.’s Resp. 4-5. The court agrees with plaintiff. The group that
Proposed Intervenors seek to represent is not an “identifiable group” under 28 U.S.C. §
1505. Prior cases in which jurisdiction was exercised over “identifiable groups” are
readily distinguishable from this case.

       This court’s jurisdictional statute pertaining to Indian cases, 28 U.S.C. § 1505,
authorizes this court to hear claims brought by “any tribe, band, or other identifiable
group of American Indians.” 28 U.S.C. § 1505 (2006).

       The United States Court of Federal Claims shall have jurisdiction of
       any claim against the United States accruing after August 13, 1946, in
       favor of any tribe, band, or other identifiable group of American
       Indians residing within the territorial limits of the United States or
       Alaska whenever such claim is one arising under the Constitution, laws


       5
          Defendant argues that the group that Proposed Intervenors seek to represent does not
constitute an "identifiable group" of American Indians under the statute because the group never
“existed as a distinct, self-governing community of American Indians, [n]or [was] even dealt
with as a distinct group by the United States government." Def.'s Resp. 19. While defendant’s
view is consistent with the result reached in this opinion, the court does not find it necessary to
address – still less to adopt – defendant’s definition of an “identifiable group” in order to decide
this issue.

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       or treaties of the United States, or Executive orders of the President,
       or is one which otherwise would be cognizable in the Court of Federal
       Claims if the claimant were not an Indian tribe, band or group.

Id. (emphasis added).

        Proposed Intervenors cite two cases to support their contention that they qualify as
an “identifiable group” pursuant to 28 U.S.C. § 1505. Mot. 11-12 (citing Chippewa Cree
Tribe of the Rocky Boy’s Reservation v. United States (Chippewa Cree), 69 Fed. Cl. 639
(2006), and Wolfchild v. United States (Wolfchild), 62 Fed. Cl. 521 (2004)). However,
both cases to which Proposed Intervenors cite are materially different from the facts of
this case. In both cases, the claimant groups were unable to sue as a tribe and therefore
sought status as an “identifiable group” under the statute in order to ensure that their
interests were represented. In Chippewa Cree, the Pembina Band of Chippewa Indians
was organized as a band of Indians at the time that their claim arose, but had subsequently
ceased to exist as an organized tribe. Chippewa Cree, 69 Fed. Cl. at 672. Recognizing
the Pembina descendants as “representatives of all the members or descendants of
members of said band,” the court granted the claimants status as an “identifiable group”
in the absence of formal organization as a tribe. Id. at 673-74; see also Snoqualmie Tribe
of Indians v. United States (Snoqualmie), 372 F.2d 951, 956-57 (Ct. Cl. 1967) (finding
that the Skykomish tribe qualified as an “identifiable group” able to bring a representative
claim on its own behalf where the Skykomish tribe was a separate and identifiable group
at the time of negotiations in the Treaty of Point Elliot in 1855, and subsequently went out
of existence as a tribe). The “group of nonmember Pembina lineal descendants,”
Chippewa Cree, 69 Fed. Cl. at 669, which qualified for status as an “identifiable group”
in Chippewa Cree were not represented by any of the other sub-groups of plaintiffs in that
case, see id. (describing the different sub-groups represented by the named individual
plaintiffs in that case). Similarly, in Wolfchild, the court found that lineal descendants of
the loyal Mdewakanton qualified as an “identifiable group of American Indians” under 28
U.S.C. § 1505, stating that “[although] the lineal descendants are unable to sue as a tribe
because they necessarily had to sever their tribal relations . . . they were and still remain
an identifiable group of American Indians.” Wolfchild, 62 Fed. Cl. at 540. In Wolfchild,
as in Chippewa Cree, the claimants’ interests were not represented by any other tribe
involved in the litigation. See Wolfchild, 62 Fed. Cl. at 538 (discussing the relationship
between the interests of the plaintiff-lineal descendants and the interests of the amici-
tribal organizations, and stating that “the benefits some plaintiffs receive as members of
one of the [tribal] communities may be substantially less than, or different from, those
which they would receive as a lineal descendant”); see also Snoqualmie, 372 F.2d at 956-
57 (finding that because the Skykomish were not a subgroup of the Snoqualmie tribe and



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did not merge into the Snoqualmie tribe, the claims brought by the Snoqualmie tribe did
not represent the interests of the Skykomish).

        The group that Proposed Intervenors seek to represent is materially different from
the claimants in both Chippewa Cree and Wolfchild. First, unlike the claimants in
Chippewa Cree and Wolfchild, Proposed Intervenors do not lack formal organization as a
tribe but are members of plaintiff-tribe, the Osage Nation. Osage V, 81 Fed. Cl. at 345-46
(finding that headright holders possess “legal membership” in the Osage Nation as a
matter of federal law); Pl.’s Resp. 5. Second, in this case, unlike in Chippewa Cree and
Wolfchild, the organization of which Proposed Intervenors are members, the Osage
Nation, is a party to this litigation. See Osage II, 68 Fed. Cl. 322 at 323-24 (describing
the parties and claims at issue in this case). The Osage Nation represents Proposed
Intervenors’ interests as its constituents. See Transcript of Oral Argument, Feb. 5, 2008
(Tr.), 46:13-14 (while discussing the operations of tribal government, plaintiff’s counsel
states, “[T]he Osage Minerals Council is the predecessor or successor-in-interest to the
Osage Tribal Council. The Osage Minerals council is elected exclusively by Osage
headright holders.”); Osage Const. (2006) art. XV, § 4 (“The government [of the Osage
Nation] shall further ensure that the rights of members of the Osage Nation to income
derived from that Mineral Estate are protected.”). The facts of this case are readily
distinguishable from the facts in cases in which claimants qualified as an “identifiable
group” under 28 U.S.C. § 1505. Proposed Intervenors are simply not an “identifiable
group” pursuant to 28 U.S.C. § 1505, but are, rather, members of a tribe. Accordingly,
the court does not consider Proposed Intervenor’s Motion as a motion to intervene in a
representative capacity, but instead considers it as a motion to intervene on behalf of
themselves as individual headright owners.

       B.     Intervention of Right

        To succeed on a motion to intervene of right under RCFC 24(a), applicants “must
show that: (1) they have an interest relating to the property or transaction that is the
subject of the action; (2) without intervention the disposition of the action may, as a
practical matter, impair or impede the applicants’ ability to protect that interest; and (3)
their interest is inadequately represented by the existing parties.” Freeman v. United
States (Freeman), 50 Fed. Cl. 305, 308-09 (2001). In addition, the application to
intervene must be “timely.” RCFC 24(a). An applicant must demonstrate the existence
of each factor. Freeman, 50 Fed. Cl. at 308 (stating that intervention of right must be
granted “[i]f the applicants satisfy each element” of the applicable provision of Rule
24(a)). If an applicant fails to demonstrate any one of these factors, the application to
intervene of right is denied. Because Proposed Intervenors have failed to meet the



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requirements of Rule 24(a), their claim is insufficient to support intervention of right.
See id. at 309.

       1.     Proposed Intervenors’ Interest

       RCFC 24(a) requires that an intervenor of right establish “an interest relating to the
property or transaction that is the subject of the action.” Id. at 308. “[T]here is no
authoritative definition of precisely what kinds of interest satisfy the requirements of the
rule.” 6 James Wm. Moore, Moore’s Federal Practice § 24.03[2][a] 24-28 (3d ed. 2004).
Therefore, the court applies the principles set forth by the Federal Circuit, and those
principles set forth in the cases upon which the Federal Circuit has relied, to the factual
circumstances of this case.

        In order to intervene of right, the interest of applicants in the property or
transaction must be “‘“ of such a direct and immediate character that the intervenor will
either gain or lose by the direct legal operation and effect of the judgment.”’” American
Maritime, 870 F.2d at 1561 (citations omitted). “The interest thus may not be either
indirect or contingent.” Id. (citations omitted). “The interest must also be a ‘legally
protect[a]ble interest.’” Id. (citation omitted). A legally protectable interest is “‘one
which the substantive law recognizes as belonging to or being owned by the applicant.’”
Id. at 1562 (citation omitted). Proposed Intervenors argue that they have an interest in the
subject of the action based on their “interest in income derived from the Osage mineral
estate.” Mot. 4. Plaintiff argues that Proposed Intervenors “[h]ave no [d]irect, [l]egally
[p]rotected [i]nterest in the [m]ineral [e]state or [t]ribal [t]rust [a]ccount,” Pl.’s Resp. 2,
because Proposed Intervenors “repeatedly confuse[] tribal ownership of the mineral estate
and the tribal trust account with the individual right to receive a quarterly distribution
from the tribal trust account,” id. at 3.

       The court now examines whether Proposed Intervenors’ interest is direct and
immediate, and, if it is, whether it is a legally protectable interest as required by RCFC
24(a).

       Proposed Intervenors have an interest in their pro rata share of the proceeds of the
mineral estate. Mot. 4-5 (stating that Proposed Intervenors “have an interest in income
derived from the Osage mineral estate, which is . . . paid on a basis of a pro-rata division
among [individual headright owners]”). It seems clear that Proposed Intervenors’ interest
is such that they will either gain or lose by the direct legal operation and effect of a
judgment in this case because damages awarded to the Tribe are ultimately to be paid to
the credit of headright holders pursuant to statute. See Act of June 28, 1906, ch. 3572, §
4, 34 Stat. 539, 544 (1906) (“An Act for the Division of Lands and Funds of the Osage

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Indians in Oklahoma Territory, and for Other Purposes”) (1906 Act); see also Act of Dec.
3, 2004, Pub. L. No. 108-431, § 1(b)(1), 118 Stat. 2609 (2004) (“An Act to Reaffirm the
Inherent Sovereign Rights of the Osage Tribe to Determine Its Membership and Form of
Government”) (2004 Act) (clarifying the 1906 Act and stating that “the rights of any
person to Osage mineral estate shares are not [to be] diminished”). The amount that each
headright holder ultimately receives is directly proportional to the amount of damages
awarded, if any, in the course of this litigation. See Transcript of Oral Argument, Apr. 3,
2003 (Tr.), 118:18-119:5 (discussing that the mineral income is ultimately allocated to
each headright holder); Def.’s Resp. 3-5 (discussing the distribution of income from the
mineral estate to headright holders). This case is distinguishable from previous cases in
which the applicant’s interest was found to be indirect or contingent. In American
Maritime, the applicant’s interest was in preventing increased competition that could
occur as a result of the court’s decision. American Maritime, 870 F.2d at 1561-62. The
court observed that the specter of increased competition would only result if “every one
of a chain of other possible, but not certain, events were to take place.” Id. at 1561. In
that case, there was “no consequence to [potential intervenor] flow[ing] immediately from
a Claims Court ruling.” Id.; Cf. also Karuk Tribe of Ca. v. United States (Karuk Tribe),
27 Fed. Cl. 429, 431 (1993) (denying motion to intervene brought by individuals whose
interest was based on a fear that Congress would amend the settlement act at issue in the
litigation if liability was found, and describing the interest as “contingent on other
events,” and therefore indirect). In this case, however, Proposed Intervenors’ interest in
their pro rata share of the proceeds of the mineral estate is analogous to the interest of the
applicant for intervention in Rosebud Coal Sales Co. v. Andrus (Rosebud), 644 F.2d 849
(10th Cir. 1981) whose interest was viewed by the American Maritime court as direct.
See American Maritime, 870 F.2d at 1561 (describing Rosebud as finding that “although
would-be intervenor [in Rosebud] did not have [a] ‘legally protectable’ interest, its
interest was direct”). In Rosebud, “the royalty rate of [would-be intervenor’s] contract
[wa]s determined by reference to the royalty rate payable by [plaintiff] to the [defendant]
under [plaintiff’s] federal coal lease.” Rosebud, 644 F.2d at 850. The applicant’s interest
in Rosebud was characterized as direct “since the royalty rate for coal to be paid by
would-be intervenor necessarily would be determined by [the] outcome of the case
between the plaintiff, another coal company, and the Department of the Interior.”
American Maritime, 870 F.2d at 1561 (analyzing the finding made in Rosebud). In much
the same way that the would-be intervenor’s profit was necessarily tied to the outcome of
the litigation in Rosebud, the amount of recovery that ultimately flows down to each
headright holder is necessarily and directly dependent upon the ultimate amount of the
judgment, if any, awarded in this litigation. Proposed Intervenors’ interest in their pro
rata share of the proceeds of the mineral estate is “‘“of such a direct and immediate
character that the intervenor will either gain or lose by the direct legal operation and
effect of the judgment.”’” Id. (citations omitted).

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        In addition to having a direct and immediate interest in the subject of the action, an
applicant must have an interest that is “legally protectable” in order to support
intervention of right. Id. In order to be legally protectable, the applicant must
demonstrate “more than merely an economic interest.” Id. at 1562. In American
Maritime, the Federal Circuit relied upon New Orleans Pub. Serv., Inc. v. United Gas
Pipeline Co. (New Orleans) to define a legally protectable interest as “‘one which the
substantive law recognizes as belonging to or being owned by the applicant.’” Id. at 1562
(quoting New Orleans, 732 F.2d 452, 464 (5th Cir. 1984)). In a portion not cited by the
Federal Circuit in American Maritime, but particularly relevant to the circumstances of
this case, the court in New Orleans further explained that an applicant’s legally
protectable interest, “one which the substantive law recognizes as belonging to or being
owned by the applicant,” New Orleans, 732 F.2d at 464, is further defined as requiring
“that the claim the applicant seeks intervention in order to assert be a claim as to which
the applicant is the real party in interest,” id. While Proposed Intervenors’ interest in the
subject of the action is direct and immediate, Proposed Intervenors do not have a legally
protectable interest because, first, Proposed Intervenors do not meet the real party in
interest requirement enunciated in New Orleans; and, second, cases with factual
circumstances closely analogous to the circumstances in this case do not support a finding
that Proposed Intervenors have a legally protectable interest.

        Proposed Intervenors are not the real parties in interest in this litigation, and
therefore do not have a legally protectable interest as defined in New Orleans. See id. In
New Orleans, city officials were denied intervention in a suit over the validity of a
contract brought by an electric utility company against its supplier. Id. at 455. The city
sought to intervene in the contract action by adopting the complaint brought by the
electric utility company. Id. at 461. Holding that the city did not have any substantive
rights in an action on a contract to which the city was not a party, the 5th Circuit stated
that “the claim the applicant seeks intervention to assert [must] be a claim as to which the
applicant is the real party in interest.” Id. at 464. In this case, the court has previously
ruled that the “headright holders are not in fact ‘the real parties in interest’ because the
Tribe, not the headright holders, is the direct trust beneficiary.” Osage I, 57 Fed. Cl. at
395; Osage V, 81 Fed. Cl. at 349. In another decision issued earlier in this litigation, this
court has stated that “the Osage [tribe] [is] the owner[] of the minerals [at issue in this
case, No. 99-550 L].” Osage V, 81 Fed. Cl. at 349 (citing Osage I, 57 Fed. Cl. at 392).
This court has determined that the Osage Tribe is the real party in interest in this litigation
and that the Osage Tribe owns the minerals which are the subject of this action. Id.
Therefore, Proposed Intervenors do not have an interest “‘which the substantive law
recognizes as belonging to or being owned by [them].’” American Maritime, 870 F.2d at
1562 (quoting New Orleans, 732 F.2d at 464). Here, as in New Orleans, Proposed



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Intervenors are simply “adopting the complaint” brought by the plaintiff in the action.6
See Mot. 6 (“Proposed Intervenors, like the Tribe, allege that the [United States]
mismanaged trust funds of the Osage by (1) failing to collect royalty payments and related
late fees due the Tribe under the Tranche One and Tranche Two leases, and (2) failing to
invest the income it did collect in the manner required by law.”). Accordingly, Proposed
Intervenors can be analogized to the applicant-intervenor in New Orleans whose
intervention was denied when it attempted to assert a right not belonging to the intervenor
itself. New Orleans, 732 F.2d at 466 (“[I]ntervention is improper where the intervenor
does not itself possess the only substantive legal right it seeks to assert in the action.”).
Moreover, the fact that the ultimate distribution of any funds awarded to the Osage Tribe
will be placed to the credit of the headright holders does not in itself create a legal right
enforceable in this action. See New Orleans, 732 F.2d at 464 (“‘“The ‘real party in
interest’ is the party who, by substantive law, possesses the right sought to be enforced,
and not necessarily the person who will ultimately benefit from the recovery.”’”) (quoting
United States v. 936.71 Acres of Land, 418 F.2d 551, 556 (5th Cir. 1969)); see also
Meridian Homes Corp. v. Nicholas W. Prassas & Co., 89 F.R.D. 552, 554 (N.D. Ill. 1981)
(denying intervention to parties who had a right to a portion of a joint venturer’s profits in
a dispute between joint venturers, and stating that despite their right to proceeds from the
litigation, the would-be intervenors’ “lack of status as joint venturers is fatal to their
asserted right to intervene” because, as a result, they failed to meet several of the
requirements to support intervention, including the interest requirement).

       In addition, the facts of this case are analogous to cases in which no legally
protectable interest has been found to be held by applicants seeking intervention in
disputes over contracts to which the applicants are not a party. In Rosebud, a coal
company sought to intervene in a dispute between another coal company, Rosebud, and
the Department of the Interior over the provisions of the coal land lease agreement
entered into between Rosebud and the Department of the Interior. Rosebud, 644 F.2d at
849-50. The applicant for intervention did not have a legally protectable interest because


       6
          To the extent that Proposed Intervenors argue that they are entitled to damages as a
result of defendant’s breach of fiduciary duties owed directly to them, rather than entitlement to
damages as the ultimate payees of any judgment rendered in this case, their argument is
precluded by the law of the case. Osage Tribe of Indians of Okla. v. United States (Osage I), 57
Fed. Cl. 392, 395 (2003) ("headright holders are not in fact ‘the real parties in interest' because
the Tribe, not the headright holders, is the direct trust beneficiary."); Osage Tribe of Indians of
Okla. v. United States (Osage V), 81 Fed. Cl. 340, 349 (2008) ("the Osage [tribe] [a]re the
owners of the minerals in the ‘instant proceeding.'"). Accordingly, the court finds that Proposed
Intervenors hold no legally protectable interest in the subject of this action. See Part III.B.1
passim.

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it was not a party to the lease at issue. Id. at 850-51; see also Wetlands Water Dist. v.
United States, 700 F.2d 561, 563 (9th Cir. 1983) (stating that while applicants for
intervention “do indeed have an interest in [the subject of the action,] . . . . this interest is
not a legally protectable interest that can support . . . intervention as a party in a suit
involving rights under contracts to which it is not a party.”); American Maritime, 870
F.2d at 1562 (“The interest of an applicant non-party having no privity claim in a
contract, the terms of which are disputed by the parties to it, also has not been recognized
as legally protectable, even when the outcome of the contract action is almost certain to
have a significant and immediate economic impact on the applicant.”). Similarly, in this
case, Proposed Intervenors are not a party to the trust relationship which exists between
defendant and plaintiff. Section four of the 1906 Act created a trust fund whereby “all
funds belonging to the Osage tribe, and all moneys due, and all moneys that may become
due, or may hereafter be found to be due the said Osage tribe of Indians, shall be held in
trust by the United States.” 1906 Act, ch. 3572, § 4, 34 Stat. 539, 544 (emphasis added).
In its prior opinions issued during the course of this litigation, this court has found that
the 1906 Act created a trust relationship between plaintiff-Osage Tribe and defendant.
See, e.g., Osage II, 68 Fed. Cl. at 330 (“The plain language of the Act of 1906 establishes
a specific duty [on the part of defendant] to hold in trust all moneys due, now and in the
future, to the Osage Tribe.”). Moreover, the court has specifically found that the trust
relationship exists exclusively between the Tribe and defendant. Osage I, 57 Fed. Cl. at
394-95 (addressing defendant’s argument that headright holders are the proper
beneficiaries and finding that “the Tribe . . . is the direct trust beneficiary”). In this case,
as in the contract cases, Proposed Intervenors do not have a legally protectable interest in
a dispute concerning a trust relationship to which they are not a party.

        For the foregoing reasons, even though Proposed Intervenors have a direct interest
in the subject of the action, that interest is not legally protectable and thus does not meet
the interest requirement of RCFC 24(a). Although a finding that Proposed Intervenors do
not meet the interest requirement of RCFC 24(a) is a bar to granting intervention of right,
see Freeman, 50 Fed. Cl. at 309, the court nonetheless examines the other factors in the
intervention of right analysis.

       2.      Proposed Intervenors’ Ability to Protect Their Interest

         Proposed Intervenors must also demonstrate that “without intervention the
disposition of the action may, as a practical matter, impair or impede the applicants’
ability to protect th[eir] interest.” Freeman, 50 Fed. Cl. at 309. Proposed Intervenors
argue that if they are not allowed to intervene, their ability to protect their interest will be
impaired or impeded because they will be without a remedy for “the problem of an
inequitable damage determination or allocation.” Reply 9. Proposed Intervenors argue

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that intervention is their “best hope of protecting their legal rights,” id. at 7, because the
outcome of this case “may create a res judicata defense for the government if Proposed
Intervenors were disadvantaged and later attempted to otherwise enforce their rights,” id.
Proposed Intervenors’ impairment of interest arguments are unpersuasive, first, because
Proposed Intervenors fail to provide a reason why an inequitable damage determination
will result if intervention is denied; second, because Proposed Intervenors fail to
demonstrate that there will be an absence of relief elsewhere if the hypothetical scenario
in which they suffer impairment due to inequitable allocation actually arises; and third,
because Proposed Intervenors’ res judicata concerns are misplaced.

        Proposed Intervenors’ impairment of interest argument based upon their concern
over a potential “inequitable damage determination” is unpersuasive because Proposed
Intervenors do not provide, and the court is unaware of, any reason why an “inequitable
damage determination” will result if Proposed Intervenors are not allowed to participate.
As discussed below in Part III.B.3, the court is not persuaded that plaintiff does not
adequately represent Proposed Intervenors in this litigation. See infra Part III.B.3. Both
plaintiff and Proposed Intervenors share an interest in maximizing the damages awarded
for the breach of trust duties alleged in this action. Mot. 6 (“[B]oth the tribe and the
headright owners have a common interest in obtaining the maximum damage award for
the breaches alleged.”). There is no reason for the court to believe that plaintiff would
not zealously carry forward its present claims, or any appellate proceedings it deems
appropriate. Proposed Intervenors’ concerns are analogous to those of applicant-
intervenors in Am. Renovation & Constr. Co. v. United States (American Renovation),
who argued that their interest would be impaired because “plaintiff could settle the case
for an improperly low amount or fail to settle at a reasonable amount which would result
in the diminution of the value of [applicant-intervenor’s] interest [in the contract at
issue].” American Renovation, 65 Fed. Cl. 254, 263-64 (2005). Here, as in American
Renovation, “The court does not find this ‘impairment of interest’ particularly persuasive
because it would be illogical for Plaintiff not to actively seek the best outcome for its
stake in the case.” 7 Id. at 264.


       7
         The court notes that in Am. Renovation & Constr. Co. v. United States (American
Renovation), the court ultimately found that intervenors satisfied the impairment of interest
requirement. American Renovation, 65 Fed. Cl. 254, 264 (2005). In American Renovation,
however, the court found that intervention was proper because “entering this case is Intervenor-
Applicant’s best (and probably last) chance to enforce its legal rights in connection with [the
underlying contract].” Id. In this case, however, this action is neither the best nor the last chance
for Proposed Intervenors to enforce their legal rights to their pro rata share in income from the
mineral estate at issue in this case. To the contrary, any potential enforcement of their individual
                                                                                        (continued...)

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          As to Proposed Intervenors’ concerns over potential inequitable allocations to
individual headright holders, defendant argues that Proposed Intervenors “will have other
opportunities to ensure their interests are represented in an allocation of any damages.”
Def.’s Resp. 16. The court agrees. The court notes at the outset that any problems with
the ultimate distribution of damages awarded are speculative, at best. Here, as in Hage v.
United States (Hage), “the singular direct result of a judgment in favor of plaintiff would
be a monetary award from the government.” Hage, 35 Fed. Cl. 737, 740-41 (1996)
(analogizing the potential “award [of] a large judgment to plaintiffs” in Hage to the
circumstances in Karuk Tribe and discussing the similarity between the two cases).
While it is possible to speculate that Proposed Intervenors may be impaired in some way
by having to dispute the allocations they ultimately receive, “the court cannot assume that
[a] . . . judgment necessarily will cause the effects which the group[] predict[s].” Id. at
741. In addition, any possible consequences that may arise as a result of this court’s
rulings are contingent upon actions and events involving intra-tribal determinations that
lie outside the scope of this court’s authority. Importantly, in the event that Proposed
Intervenors find any future damages allocation inequitable, they have alternative venues
to deal with inequitable allocation. Proposed Intervenors themselves acknowledge that
“there are avenues to assure payment of any judgment [rendered by this court] provided
by the Indian Tribal Judgment Funds Use or Distribution Act.” Reply 4. Numerous
courts have found intervention to be inappropriate “where relief is available elsewhere.”
Cheyenne-Arapaho Tribes of Indians of Oklahoma v. United States (Cheyenne-Arapaho),
1 Cl. Ct. 293, 296 n.4 (1983); see also id. at 296 (finding the prejudice to the potential
intervenors to be “slight, if indeed, existent” where they “made no showing that other
future avenues of relief . . . are totally unavailable”); TRW Envtl. Safety Sys., Inc. v.
United States, 16 Cl. Ct. 516, 519 (1989) (stating that the potential intervenor “would not
appear to be substantially prejudiced by a denial of its motion, for [the applicant] retains
its right to bring a separate action”); Ackley v. United States, 12 Cl. Ct. 306, 309 (1987)
(finding that the applicants’ rights would not be prejudiced because they had filed a
separate action and their pursuit of that claim would not be inhibited by denying
intervention). This court can only determine whether plaintiff is entitled to compensation;
it cannot determine whether the Tribe must pay headright holders any particular portion
of any judgment the court may grant in this case. Proposed Intervenors can protect their
interest by contesting in another forum any inequitable allocations that occur subsequent
to the judgment in this case. Here, as in Cheyenne-Arapaho, Proposed Intervenors “may
still have recourse to an appropriate court to compel distribution in accordance with
applicable law.” Cheyenne-Arapaho, 1 Cl. Ct. at 296 n.4 (citation omitted). “While the
movants may face the prospect of being excluded from the distribution of judgment

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         (...continued)
rights is more appropriately vindicated through other avenues, as discussed in this Part III.B.2.

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funds, they have made no showing that other future avenues of relief, either in Congress,
or against the Tribe or others are totally unavailable.” Id. at 296. For these reasons,
denying intervention in this case does not operate to preclude Proposed Intervenors from
seeking relief elsewhere in order to protect their interests in their pro rata share of income
derived from the mineral estate.

        Proposed Intervenors also argue impairment of interest based on their contention
that the outcome of this case “may create a res judicata defense for the government if
Proposed Intervenors were disadvantaged and later attempted to otherwise enforce their
rights.” Reply 7. However, Proposed Intervenors’ res judicata argument is unavailing
when analyzed in light of the law of the case. This court has previously found that the
Tribe is the real party in interest in this litigation and that the Tribe owns the minerals
which are the subject of this action. Osage I, 57 Fed. Cl. at 395 (“headright holders are
not in fact ‘the real parties in interest’ because the Tribe, not the headright holders, is the
direct trust beneficiary.”); Osage V, 81 Fed. Cl. at 349 (“the Osage [tribe] [is] the
owner[] of the minerals”). Accordingly, in Part III.B.1 of this opinion, the court found
that Proposed Intervenors hold no legally protectable interest in the subject of this action.
See supra Part III.B.1. Therefore, any attempt by Proposed Intervenors to “enforce their
rights,” Reply 7, after a final judgment is rendered in this litigation will be limited to an
enforcement of their individual interests with regard to allocations of a monetary
judgment, and not as to the general damages determination. This case is limited to a
determination of whether defendant breached its fiduciary duties to plaintiff and whether
plaintiff is entitled to compensation. The doctrine of stare decisis does not operate to
preclude Proposed Intervenors from protecting their individual rights to a pro rata share in
damages awarded to the Osage Tribe. Proposed Intervenors’ res judicata argument is
misplaced.

      For the foregoing reasons, Proposed Intervenors have not demonstrated that
“without intervention the disposition of the action may, as a practical matter, impair or
impede the applicants’ ability to protect th[eir] interest.” Freeman, 50 Fed. Cl. at 309.

       3.     Adequacy of Representation by Existing Parties

       In order to be granted intervention of right, applicants must demonstrate that “their
interest is inadequately represented by the existing parties.” Freeman, 50 Fed. Cl. at 308-
09. Proposed Intervenors contend that plaintiff Osage Nation does not adequately
represent their interests because “[the Tribe’s] statements raise questions about whether
the current tribal government has an interest in . . . dilut[ing] the long-standing right of
the headright owners . . . to receive their designated share of Osage mineral income.”
Mot. 7. Plaintiff argues that Proposed Intervenors have asserted “only an imaginary

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threat to their headright interests.” Pl.’s Resp. 6. The court agrees with plaintiff.
Proposed Intervenors have not proven that plaintiff Osage Nation inadequately represents
their interests, first, because Proposed Intervenors have merely stated a fear based on
speculation which is insufficient to show that the Osage Nation is not adequately
representing their interests; and second, because the court finds that the relationship
between the Osage Nation and Proposed Intervenors, themselves members of the Osage
Nation, may properly be analogized to the relationship between the United States and its
citizens, where the government is presumed adequately to represent an applicant-
intervenor’s interests.

        Proposed Intervenors rest their argument of inadequate representation on their
speculation as to plaintiff’s interest in “dilut[ing]” Proposed Intervenors’ rights to
proceeds from the mineral estate.8 Mot. 7. As an initial matter, Proposed Intervenors
appear to acknowledge the weakness of their own argument when they concede in their
Reply that “[t]he Osage Nation has . . . acknowledged the headright owners’ interest in
the trust assets and royalties in accordance with the federal law establishing those rights.”
Reply 3. Nevertheless, Proposed Intervenors question plaintiff’s motives based on the
fact that plaintiff did not use the particular term “headright owners” in the Osage
Constitution or in plaintiff’s third amended complaint filed in this action. Mot. 9.
Proposed Intervenors’ allegation that plaintiff may be motivated to dilute the rights of
headright owners, based entirely on plaintiff’s word choice in two documents, is
unpersuasive to show inadequate representation. The court’s conclusion is supported by
official statements of plaintiff, including in the Osage Constitution, that reaffirm a
commitment to preserve the rights of headright owners. See, e.g., Osage Const. (2006)
art. XV, § 4 (“The government [of the Osage Nation] shall further ensure that the rights
of members of the Osage Nation to income derived from that Mineral Estate are
protected); Pl.’s Resp. Exhibit (Ex.) A (Osage Nation Congress Resolution No. ONCR
08-24) (declaring that “any proceeds [from this litigation] . . . should be distributed, after
payment of all appropriate litigation expenses, to Osage headright holders in accordance
with their headright interests” and further declaring that no payment “be delayed by any
act or failure to act of the Osage Nation”).


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         Proposed Intervenors also argue inadequate representation due to the fact that Congress
does not refer specifically to "headright owners" in a 2004 Act reaffirming certain rights of the
Osage Tribe. Mot. 9; see Act of Dec. 3, 2004, Pub. L. No. 108-431, § 1(b)(1), 118 Stat. 2609
(2004) ("An Act to Reaffirm the Inherent Sovereign Rights of the Osage Tribe to Determine Its
Membership and Form of Government") (2004 Act). The court finds this argument as to
Congressional intent irrelevant to the merits of this motion. The disposition of this motion turns
on Proposed Intervenors’ failure to identify either a legally protectable interest or any reason to
question the adequacy of representation by plaintiff Tribe.

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        Further, Proposed Intervenors acknowledge candidly that “both the Tribe and the
headright owners have a common interest in obtaining the maximum damage award for
the breaches alleged.” Mot. 6. Nevertheless, Proposed Intervenors argue inadequate
representation based on the speculation that “their interests may diverge when it comes to
the issue of determining to whom those damages should be allocated.” Id. (emphasis
added). Speculation about events that might occur subsequent to this litigation do not
demonstrate inadequate representation. Moreover, to the extent that the Tribe itself is a
headright owner, it holds an interest identical to that of Proposed Intervenors. Def.’s
Resp. Ex. A (Declaration of Charles Hurlburt) ¶ 4 (“Current owners of headright interests
include . . . the Osage Tribe itself.”); Mot. 5 (“The Tribe is the trust beneficiary and also
holds a small portion of outstanding headrights.”). The court finds no indication that
plaintiff is not vigorously carrying forward its claims.

       In addition, the court views the relationship between the Osage Nation and
Proposed Intervenors to be analogous to the relationship between the United States and its
citizens, where the government is presumed adequately to represent an applicant-
intervenor’s interests. Freeman, 50 Fed. Cl. at 310 (stating that the government is
presumed to represent an applicant’s interest). In this case, Proposed Intervenors are
members of plaintiff Osage Nation. Osage V, 81 Fed. Cl. at 345-46 (finding that
headright holders possess “legal membership” in the Osage Nation as a matter of federal
law). The United States Constitution recognizes Indian tribes as sovereign governments.
See U.S. Const. art. I, § 8, cl. 3. Article I, § 8, of the Constitution gives Congress the
power “[t]o regulate Commerce with foreign Nations, and among the several States, and
with the Indian Tribes.” U.S. Const. art. I, § 8, cl. 3. The Supreme Court of the United
States has stated that “Indian tribes are unique aggregations possessing attributes of
sovereignty over both their members and their territory.” United States v. Mazurie, 419
U.S. 544, 557 (1975) (citing Worcester v. Georgia, 31 U.S. 515, 557 (1832)). The court
presumes that plaintiff Osage Tribe, with sovereignty over its members analogous to the
sovereignty of the United States over its citizens, is competent to litigate claims on behalf
of and in the interest of its members and therefore adequately to represent Proposed
Intervenors’ interests. Proposed Intervenors have neither rebutted that presumption, nor
even cast any shadow of doubt concerning the diligence with which the Osage Nation is
representing or will represent their interests.

       Proposed Intervenors claim inadequate representation based on the fact that they
“have not been advised of the Tribe’s decisions or actions in the . . . case[], nor have they
had an opportunity to offer input regarding them.” Mot. 9; see also Reply 4 (stating that
“Proposed Intervenors seek involvement . . . regarding the determination of damages” and
have “no input into what litigation expenses may be appropriately incurred and paid out
of the damages they might otherwise be entitled to receive”). However, Proposed

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Intervenors do not provide, and the court is unaware of, any support for the contention
that these facts are sufficient to establish inadequate representation. To the extent that
Proposed Intervenors are dissatisfied with their elected leadership, that is a problem that
should be addressed through an internal tribal mechanism.

        When applicants seek to intervene as a party on the side of the United States, “the
applicants may rebut the presumption of adequate representation through a showing of
collusion, adversity of interest, or nonfeasance.” Freeman, 50 Fed. Cl. at 310. Proposed
Intervenors do not urge that there is “collusion” or “nonfeasance.” Mot. passim.
However, Proposed Intervenors point to this court’s opinion in Osage V to show that an
adversity of interest exists between themselves and plaintiff Tribe. Mot. 6. Proposed
Intervenors confuse the court’s finding of “material adversity” between the Osage Tribe
and the Osage Tribe’s former counsel, then appearing as counsel for Original Intervenors
in Osage V, 81 Fed. Cl. at 351, with the requirement of “adversity of interest” in the
intervention context. In Osage V, this court found that counsel for Original Intervenors
argued for positions adverse to his former client, plaintiff Osage Tribe. Osage V, 81 Fed.
Cl. at 348-51. That finding was made by the court as part of its analysis leading to its
decision to disqualify counsel for Original Intervenors. Id. at 351-53. The litigation
positions taken by counsel for Original Intervenors were adverse to the positions taken by
plaintiff. Osage V, 81 Fed. Cl. at 348-51 (discussing Original Intervenors’ position that
they were the ultimate beneficiaries in the case, whereas the Osage Tribe advocated the
position that the Tribe itself owned the beneficial interest in the mineral estate).

        In their Motion, Proposed Intervenors advocate that intervention is proper in this
case while plaintiff Osage Nation responds in opposition. See Mot. passim; Pl.’s Resp.
passim. Adverse positions on the propriety of intervention, however, should not be
permitted to blur the fact that both plaintiff and Proposed Intervenors share an interest in
maximizing any compensation that this court may award. Mot. 6 (“[B]oth the tribe and
the headright owners have a common interest in obtaining the maximum damage award
for the breaches alleged.”). Because the litigation goal of both plaintiff and Proposed
Intervenors is the same, Proposed Intervenors have not demonstrated that there is an
“adversity of interest” between themselves and the Osage Nation. Proposed Intervenors’
reliance on Osage V to establish adversity of interest is misplaced.

       4.     Timeliness

       Under both Rule 24(a) and Rule 24(b), the application to intervene must be
“timely.” RCFC 24(a), (b). The court determines timeliness from “all the circumstances”
and exercises “sound discretion” in making its determination. NAACP v. New York, 413
U.S. 345, 366 (1973); see also Te-Moak Bands of W. Shoshone Indians v. United States,

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18 Cl. Ct. 82, 86 (1989) (“It is within the discretion of the court to decide which delays
render motions untimely.”); Cheyenne-Arapaho, 1 Cl. Ct. at 294 (“The question of
timeliness is largely committed to the discretion of the trial court.”). The court should
examine three factors when determining whether a motion to intervene is timely:

       “(1) the length of time during which the would-be intervenor[s] actually
       knew or reasonably should have known of [their] right[s] . . . ;
       (2) whether the prejudice to the rights of existing parties by allowing
       intervention outweighs the prejudice to the would-be intervenor[s] by
       denying intervention;
       (3) existence of unusual circumstances militating either for or against a
       determination that the application is timely.”

John R. Sand & Gravel Co. v. United States (J.R. Sand), 59 Fed. Cl. 645, 649 (2004)
(quoting Belton Indus., Inc. v. United States (Belton Indus.), 6 F.3d 756, 762 (Fed. Cir.
1993)), aff’d, 143 Fed. Appx. 317 (Fed. Cir. 2005) (table).

       As to factor (1), because the court finds that Proposed Intervenors do not have, nor
have they previously held, a legally protectable interest in this litigation, factor (1) is
irrelevant. See supra Part III.B.1. More specifically, because factor (1) speaks of a
would-be intervenor’s “right,” and Proposed Intervenors do not have a right to bring the
underlying claims in this litigation, Proposed Intervenors do not, a fortiori, satisfy factor
(1).

        As to factor (3), Proposed Intervenors argue that special circumstances exist in this
case because permitting intervention “avoids the complications of a class action
certification.” Reply 8. Because Proposed Intervenors neither qualify as an identifiable
group pursuant to 28 U.S.C. § 1505, see supra Part III.A, nor have legally protectable
rights as individuals, see supra Part III.B.1, the court finds this argument moot.
Accordingly, Proposed Intervenors do not satisfy factor (3).

        Even if Proposed Intervenors were viewed as having satisfied factors (1) and (3),
the court views intervention as prejudicial to the parties under factor (2) when the court
“weigh[s] the prejudice to the parties if intervention is allowed against the prejudice to
the potential intervenor[s] if intervention is not allowed.” J.R. Sand, 59 Fed. Cl. at 651
(citing Belton Indus., 6 F.3d at 762). This prong measures only the prejudice caused by a
potential intervenor’s delay and not that caused by the intervention itself. Utah Ass’n of
Counties v. Clinton (Utah Association), 255 F.3d 1246, 1251 (10th Cir. 2001). Proposed
Intervenors cast their argument on this prong in terms of a nineteen month delay – the
period of time between the ratification of the Osage Constitution in 2006 and the date of

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filing of Original Intervenors’ motion to intervene, October 15, 2007. Mot. 10.
However, because the court finds unpersuasive Proposed Intervenors’ argument that the
2006 Osage Constitution exhibits plaintiff’s motive to dilute the Proposed Intervenors’
interests, see supra Part III.B.3, prejudice to the parties should be examined in light of the
eight-year delay between the time plaintiff originally brought this suit in 1999 and the
time at which Original Intervenors applied for intervention. An eight-year delay weighs
against Proposed Intervenors. See e.g., Cheyenne-Arapaho, 1 Cl. Ct. at 296 (finding six-
year delay in applying for intervention a significant factor in denying intervention as
untimely). In Utah Association, the court found that the parties were not prejudiced
because the case was “far from ready for final disposition; no scheduling order ha[d] been
issued, no trial date set, and no cut-off date for motions set.” Utah Association, 255 F.3d
at 1250-51. In contrast, here there has already been a trial held and findings of fact and
conclusions of law made concerning defendant’s liability for some of plaintiff’s Tranche
One claims. Osage III, 72 Fed. Cl. at 631, 671. Several scheduling orders have been
entered in this case since its inception, the most recent of which addressed the parties’
discovery and motion practice as to plaintiff’s remaining claims. Order of Aug. 21, 2008,
dkt. no. 319. In the differing circumstances of Freeman, this court found that “any
prejudice to the existing parties would be minimal since there are no pending dispositive
motions.” Freeman, 50 Fed. Cl. at 308. In the present case, the court had already issued a
scheduling order as to plaintiff’s motion for partial summary judgment at the time
Proposed Intervenors’ Motion was fully briefed. Order of Aug. 21, 2008, dkt. no. 319.
At the time of this decision, briefing on plaintiff’s motion for partial summary judgment
is pending. Plaintiff Osage Nation’s Motion for Summary Judgment, Dec. 2, 2008, dkt.
no. 338.

       Proposed Intervenors argue that they will suffer prejudice if they are not allowed to
intervene because their ability to protect their interest will be impeded by a judgment or
settlement. Reply 9. However, because Proposed Intervenors have not demonstrated the
absence of alternative venues in which relief may be sought, the prejudice they may suffer
is minimal at best and intervention is inappropriate. See supra Part III.B.2. For the
foregoing reasons, Proposed Intervenors’ Motion is untimely.

       C.     Permissive Intervention

       The court has broad discretion in deciding whether to allow permissive
intervention. 6 James Wm. Moore, Moore’s Federal Practice § 24.10[1], at 24-57 (3d ed.
2004) (“The [trial] court possesses broad discretion in determining whether to grant
permissive intervention and will rarely be reversed on appeal.”). In assessing whether a
potential intervenor should be granted permissive intervention, the court must decide that
a would-be intervenor’s application is timely and that there is a “common question of law

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or fact” between the applicant’s claim or defense and the main action. RCFC 24(b). “In
exercising its discretion, the court must consider whether the intervention will unduly
delay or prejudice the adjudication of the original parties’ rights.” Id. Because the court
has already decided that Proposed Intervenors’ Motion does not meet the timeliness
requirement, see supra Part III.B.4, permissive intervention is inappropriate. However,
even if Proposed Intervenors’ Motion were viewed as timely, Proposed Intervenors fall
short of meeting the standard for permissive intervention.

        Proposed Intervenors state that they “should be permitted to intervene pursuant to
RCFC 24(b) because their claims and the main action have questions of law or fact in
common.” Mot. 11. To the extent that Proposed Intervenors’ claims adopt the complaint
filed by plaintiff Osage Nation, see supra Part III.B.1, the court has previously ruled that
the Tribe, not the headright holders, is the real party in interest and therefore has standing
to bring the claims against the government presently at issue in this litigation. Osage I, 57
Fed. Cl. at 395. In addition, the court has already found that plaintiff adequately
represents Proposed Intervenors in this litigation. See supra Part III.B.3. The court must
also “consider whether an intervenor would burden or prolong the proceedings by filing a
counterclaim or motions on extraneous issues.” Freeman, 50 Fed. Cl. at 310; see also 6
James Wm. Moore, Moore’s Federal Practice § 24.10[1], at 24-57 (3d ed. 2004)
(“[C]onsiderations of trial convenience dominate the question of whether to allow
permissive intervention.”). While Proposed Intervenors state that they “do not seek to
disrupt the present status of the case,” Mot. 11, and that “[p]ermitting . . . intervention . . .
in this case will not cause a delay in adjudication of it,” id., it would be unrealistic to
conclude that granting intervention would not affect this litigation. In the present case,
both Proposed Intervenors and plaintiff are attempting to prove that defendant has
breached its fiduciary duties owed to the Osage Tribe and accordingly maximize any
judgment awarded.

       The duplicative nature of the evidence will not shed any additional light on
       this issue. The ultimate objectives of the [parties] are the same . . . .
       Allowing the [intervenor-]applicants to intervene in this case would
       threaten expedient disposition of this action.

Freeman, 50 Fed. Cl. at 311. Here, as in Hage, “intervention would not serve the interests
of judicial economy because the applicants merely argue issues raised by the primary
parties.” Hage, 35 Fed. Cl. at 742.

       Furthermore, to the extent that Proposed Intervenors seek intervention now in
order later to adjudicate any potential future complaints over allocations of damages that
they may regard as inequitable, this case can be analogized to cases in which permissive

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intervention has been denied on the basis that the would-be intervenors do not have a
claim against the United States. In situations where a plaintiff has sued the United States
and an applicant seeks to intervene as a defendant, courts have found permissive
intervention to be inappropriate because the applicant does not have a claim against the
United States. See, e.g., Hage, 35 Fed. Cl. at 742 (denying permissive intervention
because the applicants “do not have a claim against the United States”); Karuk Tribe, 27
Fed. Cl. at 432 (denying permissive intervention because “the applicant-intervenors do
not have a claim or defense against the United States” and the “court entertains suits
against the government”). These rulings stem from the nature of this court’s jurisdiction.
Under the Tucker Act this court has

        jurisdiction to render judgment upon any claim against the United States
        founded either upon the Constitution, or any Act of Congress or any
        regulation of an executive department, or upon any express or implied
        contract with the United States, or for liquidated or unliquidated damages in
        cases not sounding in tort.

28 U.S.C. § 1491(a)(1) (2006).9 First, the court cannot claim jurisdiction over
hypothetical claims that Proposed Intervenors may have in the future because they do not
presently exist.10 As the Supreme Court has stated, in a discussion of the case or


        9
        While these cases discuss the lack of a claim against the United States as a basis for
denying permissive intervention, given the contours of the jurisdiction of this court, their
reasoning applies with equal force to intervention of right under RCFC 24(a).
        10
           The court notes that throughout their briefing, Proposed Intervenors routinely misstate
this court’s finding in Osage I. Proposed Intervenors’ Motion cites Osage I for the proposition
that “[t]he Tribe has no further interest in or claim to the funds once they are distributed to the
headright owners.” Mot. 5 (emphasis omitted) (citing Osage I, 57 Fed. Cl. at 395). Proposed
Intervenors go on to state, “The tribe loses its beneficial interest in tribal trust funds once they are
segregated for disbursement to the headright owners.” Id. at 12. In their Reply, Proposed
Intervenors similarly refer to “the [c]ourt’s statement in [Osage I] that the headright owners have
an interest in the funds upon segregation.” Reply 6. Contrary to Proposed Intervenors’
mischaracterizations, in Osage I, the court stated, “Although the Tribe may have no further
interest or claim to the funds once they are distributed to the headright owners, the court finds
that the Tribe does have both an interest in and a claim to the funds when those funds are within
the tribal trust account that was established by the 1906 Act.” Osage I, 57 Fed. Cl. at 395
(emphasis added). The court did not address the issue of segregation in any way. Id. Moreover,
the court did not render a finding as to if or when plaintiff Osage Nation loses any portion of its
beneficial interest in the mineral estate. Id. Moreover, to the extent that plaintiff is itself a
                                                                                           (continued...)

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controversy requirement needed in order invoke the jurisdiction of the federal courts,
“Abstract injury is not enough. The plaintiff must show that he ‘has sustained or is
immediately in danger of sustaining some direct injury’ as the result of the challenged
official conduct and the injury or threat of injury must be both ‘real and immediate,’ not
‘conjectural’ or ‘hypothetical.’” City of Los Angeles v. Lyons, 461 U.S. 95, 101-02
(1983) (citations omitted). Second, Proposed Intervenors do not qualify as an
“identifiable group” so as to bring them under this court’s jurisdiction pursuant to 28
U.S.C. § 1505. See supra Part III.A. Third, Proposed Intervenors have not demonstrated
that this court would have jurisdiction over claims brought by individual Osage headright
holders against the United States under either 28 U.S.C. § 1491(a)(1), see Mot. passim;
Reply passim, or 28 U.S.C. § 1505, id.; see also Pl.’s Resp. 2, 4 (discussing that the Tribe
is the proper party to invoke this court’s Indian Tucker Act jurisdiction with respect to the
trust issues this case addresses).11 In these circumstances, the court finds permissive
intervention inappropriate.

IV.    Conclusion

       For the foregoing reasons, Proposed Intervenors’ Motion is DENIED.

       IT IS SO ORDERED.




       10
           (...continued)
headright holder, it presumably holds the exact same interest in its pro-rata share of the mineral
estate after distribution of the funds as do Proposed Intervenors. Def.'s Resp. Ex. A (Declaration
of Charles Hurlburt) ¶ 4 ("Current owners of headright interests include . . . the Osage Tribe
itself."); Mot. 5 ("The Tribe is the trust beneficiary and also holds a small portion of outstanding
headrights."); see also supra Part III.B.3. The court agrees with defendant that to the extent that
any “claims regarding alleged misconduct by the United States following distribution of the
funds, or segregation for distribution of the funds,” Def.’s Resp. 7, become a part of this
litigation, “the [c]ourt [has not] issued definitive rulings outlining the scope of any such claims . .
. [nor has the court] decided whether the Tribe is the proper party to be bringing such claims,” id.

       11
           For the foregoing jurisdictional reasons, the court agrees with Proposed Intervenors that
defendant's "attempt to categorize the issues of the case into pre-distribution and post-distribution
claims," Reply 11; see also Def.’s Resp. passim, is artificial and unnecessary for the purposes of
deciding Proposed Intervenors' Motion. Id. Proposed Intervenors do not meet the requirements
for intervention in this case, either permissively under RCFC 24(b) or as of right under RCFC
24(a), as to any of their claims, whenever they may arise.

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                             s/ Emily C. Hewitt
                             EMILY C. HEWITT
                             Judge




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